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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

    v.                                                     S1 23 Cr. 307 (LJL)

 MICHAEL SHVARTSMAN, et al.,

             Defendants.




                    GOVERNMENT’S MEMORANDUM OF LAW
         IN OPPOSITION TO MICHAEL SHVARTSMAN’S PRETRIAL MOTIONS
                  RELATED TO THE SUPERSEDING INDICTMENT




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                                PRELIMINARY STATEMENT

       Defendant Michael Shvartsman is charged in Indictment S1 23 Cr. 307 (LJL) (the

“Superseding Indictment”) with securities fraud and conspiracy to commit securities fraud based

on his insider trading in the securities of the special purpose acquisition corporation (“SPAC”)

Digital World Acquisition Corporation (“DWAC”). In addition to these charges, the Superseding

Indictment charges Shvartsman with money laundering crimes based on his use of the proceeds of

the insider trading scheme: Count Eleven of the Superseding Indictment charges Shvartsman with

participating in a concealment money laundering scheme, in violation of 18 U.S.C. §

1956(a)(1)(B)(i); Count Twelve charges him with engaging in a monetary transaction with

criminal funds in excess of $10,000, in violation of 18 U.S.C. §§ 1957 and 2.

       Shvartsman now moves to transfer venue of just the money laundering charges—Counts

Eleven and Twelve—to the Southern District of Florida, and also moves for a bill of particulars

relating to Count Eleven. (Dkt. 91. (“Def. Mot.”).)

       The motions should be denied. Transferring just the money laundering counts—such that

separate trials would be held in the Southern Districts of New York and Florida—would be

inefficient and wasteful, and is not warranted under the discretionary factors to be considered by

the Court, and no bill of particulars is required given the specificity of the information Shvartsman

already has.

                                        BACKGROUND

       The Money Laundering Scheme

       As alleged in the Indictment, the defendants together made more than $22 million in illegal

profits by trading in securities of DWAC based on insider information that the SPAC was going

to take public a media company owned by former U.S. President Donald J. Trump. (Superseding

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Indictment ¶ 1.) In total, Michael Shvartsman purchased approximately two million DWAC

warrants at the end of September and beginning of October 2021, which he sold after DWAC’s

planned merger with the media company was announced. Shvartsman made a profit of more than

approximately $18 million through this securities fraud scheme. (Id. ¶¶ 12(b), 14.) After obtaining

these illegal proceeds, from between in or about 2021 through in or about 2023, Shvartsman

engaged in a separate scheme to conceal the source, nature, location, and control of his more than

$18 million in insider trading profits. As charged in the Superseding Indictment, that scheme had

at least two components.

       First, in or about December 2021, Michael Shvartsman transferred approximately $8.4

million in proceeds from his sale of DWAC securities through a series of bank accounts that he

controlled in an effort to commingle those proceeds and disguise their source. (Id. ¶ 15.) These

funds were ultimately transferred to a business bank account (the “Washing Account”) held at an

Oklahoma bank. The Washing Account was in the name of one of the defendant’s businesses and

was controlled in part by Shvartsman’s associate (who was also a tippee in the insider trading

scheme). The Washing Account was used as part of Shvartsman’s cashless ATM business, through

which the account consistently received a high volume of deposits and transmitted a high volume

of withdrawals, with regular high cash balances. As a result of these features, the $8.4 million in

DWAC proceeds was quickly obscured within the high frequency transactions of the Washing

Account.

       Second, in or about July 2022, Shvartsman transferred an additional approximately $12

million in proceeds from his sale of DWAC securities to a bank account that Shvartsman

controlled. (Id. ¶ 16.) In or about September 2022, Shvartsman created a new Delaware

corporation, owned by himself and another of his businesses. Shvartsman transferred
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approximately $13 million to an account in the name of this new corporation, the bulk of which

was constituted of the DWAC proceeds that had been transferred in July. Shvartsman, under the

name of an entity he controlled, signed an agreement to purchase the yacht named the Ipanema for

approximately $14.7 million.

       In approximately the same timeframe, an associate of Shvartsman’s (“Associate-1”)

established two LLCs, one a Delaware company with its principal place of business in Colorado;

the other in the Cook Islands. In or about October 2022, Shvartsman assigned the Ipanema’s

purchase rights to one of Associate-1’s newly established entities. On or about October 11, 2022,

Shvartsman’s company and Associate-1’s company executed a promissory note in the amount of

$17 million, under which terms, among other things (1) Shvartsman’s company agreed to lend

Associate-1’s company funds to purchase a yacht; (2) Shvartsman’s company obtained a security

interest and a first priority lien on all of Associate-1’s company’s assets; and (3) Shvartsman’s

company retained the right to convert the note into actual ownership of Associate-1’s company’s

assets (for example, the yacht that was contemplated for purchase).

       Also, on or about October 11, 2022, Shvartsman transferred approximately $13 million to

a law firm IOLTA account, which transferred the funds to Associate-1’s company the following

day. Associate-1’s company thereafter wired approximately $14.1 million to a yacht brokerage

firm in order to purchase the Ipanema yacht, then and now docked in Turkey. The Ipanema has

since undergone extensive renovation work and has been renamed the Provocateur.

    Procedural History

       A grand jury sitting in this District returned the initial Indictment against the defendants on

June 26, 2023. (Dkt. 1.) The defendants were arrested on June 29, 2023, presented before

magistrate judges in the districts of their arrests, and released on bail. On December 22, 2023, the
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defendants filed various motions relating to this indictment. On February 8, 2024, The Court held

an evidentiary hearing and heard oral argument, and the motions remain pending.

       A grand jury sitting in this district returned the Superseding Indictment on February 6,

2024. On February 29, 2024, Michael Shvartsman filed the instant motions relating to the

Superseding Indictment.

       Trial is scheduled to begin on April 29, 2024.

                                          ARGUMENT

   The Defendant’s Motion to Transfer Should Be Denied

   A. Applicable Law

       “As a general rule a criminal prosecution should be retained in the original district” where

the case was charged. United States v. Posner, 549 F. Supp. 475, 477 (S.D.N.Y. 1982); accord

United States v. Kirk Tang Yuk, 885 F.3d 57, 74 n.5 (2d Cir. 2018). Discretionary transfers of

venue are governed by Federal Rule of Criminal Procedure 21(b), which provides that, “for the

convenience of parties and witnesses, and in the interest of justice, the court upon motion of the

defendant may transfer the proceeding as to that defendant or any one or more of the counts thereof

to another district.” Fed. R. Crim. P. 21(b). The “burden is on the moving defendant to justify a

transfer under Rule 21(b).” United States v. Spy Factory, Inc., 951 F. Supp. 450, 464 (S.D.N.Y.

1997) (quotation marks omitted). That burden “is not often or easily met,” as the defendant must

show that trial in the original district “would be so unduly burdensome that fairness requires the

transfer to another district.” United States v. Larsen, No. 13 Cr. 688 (JMF), 2014 WL 177411, at

*2 (S.D.N.Y. Jan. 16, 2014); see also United States v. Calk, No. 19 Cr. 366 (LGS), 2020 WL

703391, at *2 (S.D.N.Y. Feb. 12, 2020) (same).



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       In Platt v. Minnesota Mining & Manufacturing Co., 376 U.S. 240 (1964), the Supreme

Court introduced a list of factors that courts routinely consider in analyzing a defendant’s motion

to transfer venue: (1) location of defendant; (2) location of possible witnesses; (3) location of

events likely to be in issue; (4) location of documents and records likely to be involved;

(5) disruption of defendant’s business unless the case is transferred; (6) expense to the parties;

(7) location of counsel; (8) relative accessibility of place of trial; (9) docket condition of each

district involved; and (10) any other special elements that might affect the transfer. Spy Factory,

Inc., 951 F. Supp. at 455 (citing Platt, 376 U.S. at 244). “No one of these considerations is

dispositive, and it remains for the court to try to strike a balance and determine which factors are

of greatest importance.” United States v. Maldonado-Rivera, 922 F.2d 934, 966 (2d Cir. 1990)

(quotation marks and brackets omitted).

       Generally speaking, “there has been a ‘trend in recent years away from granting transfers.’”

United States v. Blondet, No. 16 Cr. 387 (JMF), 2019 WL 5690711, at *2 (S.D.N.Y. Nov. 4, 2019)

(quoting United States v. Quinn, 401 F. Supp. 2d 80, 85-86 (D.D.C. 2005) (citing cases and

treatises)). This trend recognizes that, since the time that Platt was decided in 1964, “the massive

expansion of technology and the relative decline in costs for long-distance travel over the past few

decades” have greatly reduced the circumstances where transfer is justified. Id. (quoting Quinn,

401 F. Supp. 2d at 86).




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   B. Discussion

       Application of the relevant Platt factors here does not justify deviation from the “general

rule” that “a criminal prosecution should be retained in the original district” where the case was

charged. Posner, 549 F. Supp. at 477. Shvartsman’s proposal is fundamentally at odds with the

purpose behind Rule 21(b), which is to reduce burdens on the parties, not impose them:

Shvartsman is proposing splitting this case into two federal trials: one in Manhattan on the insider

trading charges; followed by a separate trial in Miami on the money laundering charges. On its

face, such a proposal creates no efficiencies and spares no real burdens on any party; to the

contrary, it would require offering much of the same evidence and testimony in two trials in

separate parts of the country. The motion should be rejected out of hand—there is nothing unfair

about requiring Shvartsman to defend himself on the money laundering charges in Manhattan

when he will be on trial in Manhattan in any event for the related insider trading charges, even

under his proposal.

       Moreover, balancing the Platt factors, while a trial outside of Shvartsman’s district of

residence will cause some inconvenience for Shvartsman, as it does for any defendant, this

inconvenience will be relatively small for Shvartsman and would be imposed on Shvartsman even

under his proposal, and, in any case, this factor standing alone is insufficient to merit a transfer.

Transferring the money laundering charges would require relocation of the Government attorneys

and agents, as well as many witnesses, victims, and even defense counsel to the Southern District

of Florida, imposing significant burdens on all parties. Because all of the Platt factors beside the

defendant’s place of residence are neutral or weigh against transfer, this motion would properly be

denied even if Shvartsman were not proposing two separate federal trials.



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       1. Residence of the Defendant

       While there is no dispute that Shvartsman does not reside in the Southern District of New

York, this fact alone does not justify transfer. It is well established that “the inconvenience of

having to stand trial outside of one’s home district, without more, is insufficient to warrant a

transfer,” United States v. Coriaty, No. 99 Cr. 1251 (DAB), 2000 WL 1099920, at *2 (S.D.N.Y.

Aug. 7, 2000) (internal quotation marks omitted), and a defendant’s residence, standing on its own,

“has no independent significance in determining whether transfer to [a different] district would be

‘in the interest of justice,” United States v. Stein, 429 F. Supp. 2d 633, 645-46 (S.D.N.Y. 2006)

(denying transfer to another district in multi-defendant case where some defendants were from

Texas and California). That is because a defendant’s desire to be tried in his district of residence

is “in tension with the more general presumption that a criminal prosecution should be retained in

the original district.” Spy Factory, 951 F. Supp. at 464.

       Shvartsman’s motion sets forth no facts that would distinguish this case from the dozens

of cases that have come before where a defendant was tried outside of his or her district of

residence. Indeed, “[e]very life is significantly disrupted during a trial no matter where it is held.

Besides the need to be in court every day, the evenings and weekends are usually consumed

analyzing the evidence that has been admitted and preparing for the remainder of trial.”’ United

States v. Christian, No. 12 Cr. 41 (KBF), 2012 WL 1134035, at *1 (S.D.N.Y. Apr. 2, 2012)

(quoting United States v. Wilson, No. 01 Cr. 53 (DLC), 2001 WL 798018, at *1 (S.D.N.Y. July 13,

2001)). The duration of any disruption here—which would occur regardless of where Shvartsman

is tried—is not nearly so long as in other cases where motions to transfer have been denied. See,

e.g., Stein, 429 F. Supp. 2d at 645 (denying a motion to transfer where the trial was anticipated to

last between six and eight months).
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       Moreover, Shvartsman is better positioned to bear any inconvenience than many

defendants for whom motions to transfer are denied. See, e.g., Larsen, 2014 WL 177411, at *3

(denying transfer where an indigent defendant living in another state would be unable to care for

his children or attend his job at a pizzeria during trial); see also United States v. Avenatti, No. 19

Cr. 374 (DAB), 2019 WL 4640232, at *3 (S.D.N.Y. Sept. 24, 2019) (concluding that the location

of the defendant’s residence outside of New York does not weigh heavily in favor of transfer and

noting that the defendant “does not claim that he is unable to afford the expenses of defending his

case in this District”). Shvartsman is wealthy and has ready access to convenient means of travel.

While facing trial away from his home may present some inconvenience to Shvartsman, he does

not, and could not credibly, claim that travel to New York City to stand trial represents a significant

difficulty for him. In sum, this is not a case where the defendant’s interests in a trial near his

residence are unusually strong or where the defendant is able to point to an extraordinary

circumstance necessitating a trial in his home district; rather, the interests here are, if anything,

considerably weaker than those present in cases where transfer has been deemed to be warranted.

       2. Location of Witnesses

       The location of witnesses who are likely to be called at trial does not weigh in favor of

transfer. A defendant claiming that the location of witnesses warrants a transfer of venue bears the

burden of “specifically describ[ing] how particular witnesses would be entirely prevented from

testifying at trial in the Southern District of New York.” United States v. Blakstad, No. 19 Cr. 486

(ER), 2020 WL 5992347, at *4 (S.D.N.Y. Oct. 9, 2020); United States v. Milton, No. 21 Cr. 478

(ER), 2021 WL 5304328, at *6 (S.D.N.Y. Nov. 15, 2021); see also Spy Factory, 951 F. Supp. at

456 (defendants seeking to transfer venue bear the burden of offering the Court “specific examples

of witnesses’ testimony and their inability to testify because of the location of trial”). The “naked
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allegation that witnesses will be inconvenienced by trial in a distant forum will not suffice for

transfer.” Spy Factory, 951 F. Supp. at 456; see also United States v. Juncal, No. 97 Cr. 1162

(JFK), 1998 WL 473949, *5 (S.D.N.Y. Aug. 7, 1998) (“there is no basis to grant the motion to

transfer” where defendant fails to make “a specific proffer of testimony from specific witnesses to

allow the court to make an informed decision about the importance of these witnesses to [the

defendant’s] case”). Rather, “the court must rely on concrete demonstrations of the proposed

testimony.” Spy Factory, 951 F. Supp. at 456 (quotations and citations omitted). Moreover, “in

this age of easy air travel, this factor is generally much less relevant than it was in 1964, when the

Supreme Court decided Platt.” United States v. Ebbers, No. 02 Cr. 1144 (BSJ), 2004 WL 2346154,

at *1 (S.D.N.Y. Oct. 18, 2004).

       The defendant does not even identify the potential witnesses, and he does not describe how

they would be inconvenienced by travel, let alone attempt a showing that any witness would be

prevented from testifying at a trial in New York City. This is plainly insufficient. See, e.g.,

Blakstad, 2020 WL 5992347, at *4 (witnesses must be entirely prevented from testifying to favor

transfer). And Shvartsman is simply wrong when he asserts that “[n]one of the likely witnesses for

the money laundering charges are based in New York; they are instead all in or around Miami,

Florida.” (Def.’s Mot. 5.) Although the Government has not finalized a witness list, it does

anticipate calling New York-based witnesses, as well as witnesses based outside of Florida who

will have to travel by plane in any event to provide testimony relevant to the money laundering

charges against Shvartsman. The Government anticipates calling at least two civilian witnesses for

testimony relevant to both the insider trading and money laundering trials, and who would

therefore have to testify twice under Shvartsman’s proposal in both New York and Florida.



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       In these circumstances, courts have repeatedly found that this factor does not weigh in

favor of transfer. See, e.g., United States v. Kolfage, No. 20 Cr. 412 (AT), 2020 WL 7342796, at

*3 (S.D.N.Y. Dec. 14, 2020) (proffer that failed to identify witnesses or their testimony and to

explain details as to why witnesses could not travel to New York was “insufficiently specific to

demonstrate that this factor weighs in favor of transfer”); Blakstad, 2020 WL 5992347, at *4

(location of witnesses did not favor transfer where defendant merely asserted that his witnesses

were located in California and that travel expenditures would be burdensome); United States v.

Brooks, No. 08 Cr. 35 (PKL), 2008 WL 2944626, at *2 (S.D.N.Y. July 31, 2008) (“bare assertion”

of hardship was insufficient to tip this factor in favor of transfer); Stein, 429 F. Supp. 2d at 645-46

(location of the witnesses did not support transfer where defendants failed to put forward any

evidence that potential defense witnesses would be unable or unwilling to travel to the Southern

District of New York); Ebbers, 2004 WL 2346154, at *1 (defendant did not allege that “witnesses

would be unable to testify in New York, that he would be unable to call them, or that he would be

financially incapable of paying such witness’ expenses”). Shvartsman has failed to meet his burden

to demonstrate that this factor favors transfer.

       3. Location of Events

       The location of the charged events—in which Shvartsman utilized financial institutions,

corporate forms, and associates located in numerous states and abroad to launder funds—does not

favor transfer. Although it is true that Shvartsman took part in much of this money laundering

conduct while at his home or office in Florida, the scheme involved individuals, entities, and

property located in numerous states and countries, which counsels against transfer. See, e.g.,

Kolfage, 2020 WL 7342796, at *4 (transfer not favored by location of events even where the

defendants never entered New York because the fraud “was national in scale” as it “was carried
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out throughout the country over the internet”); Blakstad, 2020 WL 5992347, at *4 (“‘Because the

criminal activity that was alleged to have occurred in this case was concededly national in scope,

the location of the events at issue favors neither side.’” (quoting Spy Factory, 951 F. Supp. at

457)); United States v. Estrada, 880 F. Supp. 2d 478, 483 (S.D.N.Y. 2012) (noting that “[t]he

majority of ‘the events likely to be at issue’ are alleged to have occurred in Los Angeles,” but

concluding that “this factor is not particularly persuasive when defendants are alleged to have

intentionally projected their fraud nationwide, including into this District”); Ebbers, 2004 WL

2346154, at *1 (finding third Platt factor did not weigh in favor of transfer when securities fraud

involved national company listed on Nasdaq and Government’s case involved conversations with

New York entities); Spy Factory, 951 F. Supp. at 457 (though the defendant’s company was in

Texas, his illegal sales were national in scope, making New York an equally appropriate venue).

Indeed, the yacht itself has been and continues to be located in Turkey.

       Accordingly, while the trial in this case will undoubtedly relate to some events that took

place outside the Southern District of New York, that would be an inevitability in any district in

which this case was tried. Moreover, while this case of course concerns Shvartsman’s money

laundering, it is far from obvious that the “nerve center” of the case is in Florida. The focus of the

money laundering counts is on a national and international scheme to conceal the proceeds of

criminal activity. These actions involved the Southern District of New York. This factor, therefore,

weighs against transfer or, at a minimum, is neutral.

       4. Location of Documents and Physical Evidence

       The fourth Platt factor, the location of documents, does not weigh in favor in transfer,

particularly when modern developments in electronics and computing render documents readily

available to a defendant wherever he or she is located. See United States v. Datta, 797 F. Supp. 2d
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448, 450 (S.D.N.Y. 2011) (finding that electronic format of documents “neutraliz[ed] any issue

concerning the location of documents”); Brooks, 2008 WL 2944626, at *2 (“the location of

documents and records is not a major concern in these days of easy and rapid transportation”). In

fact, evidence relied upon by the Government in charging the case was gathered and is maintained

in Manhattan, and as a result, transfer of venue would require the Government to transport

documents, hard drives containing evidence, and other materials to Florida. See United States v.

Stephenson, 895 F.2d 867, 875 (2d Cir. 1990) (presence of documents and recordings in this

District favored retaining venue); United States v. Keuylian, 602 F.2d 1033, 1038 (2d Cir. 1979)

(presence of most of the exhibits in the charging district favored retaining venue).

       In short, the location of the actual evidence in this case does not favor transfer.

       5. Disruption of the Defendant’s Business

       Shvartsman asserts that a trial in New York on the money laundering charges will result in

witness travel that will “create unnecessary business disruption.” (Def. Mot. 5.) But this is

insufficient. See, e.g., Blakstad, 2020 WL 5992347, at *5 (bare assertions that travel across the

United States will cause substantial disruption is insufficient for factor to favor transfer). In any

case, as noted above, “[e]very life is significantly disrupted during a trial wherever it is held.”

Christian, 2012 WL 1134035, at *1. And Shvartsman’s proposal does not seriously obviate any

disruption on him—he will be attending trial in New York on the insider trading counts, even if

were to succeed on his motion.

       6. Expense to the Parties

       The expense to the parties also weighs against transfer. Shvartsman does not assert that he

is unable to bear the costs of his defense, and he only conclusorily refers to the “expense associated

with transporting and housing witnesses.” (Def. Mot 6.) However, Shvartsman entirely ignores the

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substantial cost that the Government would bear in relocating the trial and investigative team to

Florida. The Government’s resources are not unlimited, and unnecessary expenses incurred by the

Government are ultimately paid for by taxpayers. Notwithstanding that the Government has

worked with law enforcement officers based in Southern Florida in the investigation and

prosecution of this case, transferring this case to Florida would require a large New York based

investigative and prosecutorial team—including three Assistant U.S. Attorneys, at least one

paralegal, and several federal law enforcement agents—to relocate for weeks, and would require

the transportation of large amounts of data and physical evidence to another district. Courts in this

District have repeatedly denied transfer motions in part because the expense of transfer to the

Government was too significant to warrant transfer. See, e.g., Avenatti, 2019 WL 4640232, at *5

(denying transfer because “the entire prosecution team—including several Assistant United States

Attorneys, paralegals, and multiple law enforcement agents—would be forced to relocate to

California for the duration of the trial”); United States v. Canale, No. 14 Cr. 713 (KBF), 2015 WL

3767147, at *4 (S.D.N.Y. June 17, 2015) (denying transfer where it “would require the

Government to transport and house two prosecutors, as well as a paralegal and several case

agents”); Ebbers, 2004 WL 2346154, at *2 (“It would impose an enormous burden on the

government to move the prosecutors, investigators, support staff, court staff, and others familiar

with the case … to another jurisdiction”).

       “Where the effect of a motion to transfer is merely to shift the economic burden to the

government, this factor generally weighs against transfer.” Kolfage, 2020 WL 7342796, at *5

(internal quotation marks and citation omitted). And where the “[d]efendant has not shown that

the additional expense is unduly onerous in light of his circumstances, nor that he would be unable



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to bear such expense” this factor does not favor transfer. Calk, 2020 WL 703391, at *4. For these

reasons, the expense to the parties factor weighs against transfer.

       7. Location of Counsel

       The location of counsel weighs against transfer. Shvartsman ignores this factor, but his

primary criminal defense attorney in this case, who has argued the first round of motions on his

behalf and who has filed the instant motion, is based in New York City. Furthermore, this factor

is not limited to the location of defense counsel. As the Second Circuit has made clear, the location

of the prosecution team is an appropriate consideration in denying a motion to transfer venue.

Stephenson, 895 F.2d at 875 (considering “location of the prosecutor”); Keuylian, 602 F.2d at 1038

(considering location of “the Government attorney and the ATF case agent”); see also Blakstad,

2020 WL 5992347, at *5 (observing that more of the attorneys in the case, when the prosecutors

are included, are based in New York); Kolfage, 2020 WL 7342796, at *5 (considering location of

both defense and Government lawyers). Here, as detailed above, the location of the prosecution

team, which consists of three Assistant U.S. Attorneys, paralegals, and multiple case agents,

weighs against transfer—as does the location of defense counsel.




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       8. Relative Accessibility of the Place of Trial

       The relative accessibility of the districts at issue does not favor a transfer. It is not

reasonably subject to dispute that Manhattan is one of the most accessible locations in the United

States. See Avenatti, 2020 WL 5992347, at *5 (“Manhattan is clearly one of the most accessible

locations in the United States with three major airports and a variety of other public

transportation.”); United States v. Percoco, No. 16 Cr. 776 (VEC), 2017 WL 6314146, at *17 (Dec.

11, 2017) (denying transfer because, inter alia, “New York City is clearly an accessible

transportation hub”); Christian, 2012 WL 1134035, at *2 (denying transfer because, inter alia,

“New York is easily accessible by air with three major airports, as well as a variety of other public

transportation”). Accordingly, to the extent that any witnesses are required to travel from outside

of New York to testify, the inconvenience will be minimal.

       9. Docket Conditions

       Shvartsman concedes that docket conditions is a neutral factor in this case “as both the

Southern District of New York and the Southern District of Florida are equally equipped to handle

a trial of the counts in question.” (Def. Mot. 6 n.3.)

       10. Other Factors

       Shvartsman further argues that the time required to prepare for trial on the money

laundering counts support severance and transferring those counts to the Southern District of

Florida. (Def. Mot. 4, 7.) But this disregard for judicial resources should be rejected.

       The Court has already granted Shvartsman a two-week adjournment in light of the return

of the money laundering counts. And, to the extent Shvartsman has a credible basis to seek a further

adjournment of trial, he may do so. But the remedy to needing an adjournment is seeking an

adjournment, not a severance, which would require two trials. Such a situation would result in

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hardship to the Government, would needlessly burden a second court with conducting trial, and is

almost certain to result in requiring witnesses to testify multiple times.

        This additional reason proffered by Shvartsman also fails to support transfer.

                                                 ***

        In sum, the circumstances here strongly favor denial of the motion to transfer the case.

Even in cases where some of the Platt factors “favor or perhaps favor transfer,” Datta, 797 F.

Supp. 2d at 450, courts nonetheless deny such motions where defendants do not meet their burden

of overcoming the presumption that a trial shall be held in the initial district, see, e.g., id. (denying

motion to transfer even while noting “[i]t appears that more of the events pertinent to the

indictment occurred in Texas than here, defendant’s business is centered there, and the defendant’s

family now resides in Texas” and that “it may be that more trial witnesses ultimately will prove to

be Texas rather than New York area residents”); United States v. Pastore, No. 17 Cr. 343 (NSR),

2018 WL 395490, at *5 (S.D.N.Y. Jan. 11, 2018) (denying transfer where two of the Platt

factors—residence of defendant and location of counsel—favored transfer and the others were

neutral or militated against transfer); Percoco, 2017 WL 6314146, at *18 (denying transfer despite

location of defendants, a number of witnesses, and a number of relevant events in other district);

Larsen, 2014 WL 177411, at *3 (denying transfer despite indigent defendant’s residence, job and

child care responsibilities supporting motion where other factors were opposed or neutral).

        Here, the only factor that favors transfer—and only minimally so—is the location of the

defendant. Even that factor is of only doubtful help to the defendant, inasmuch as he will be in

New York for his insider trading trial in any event. All other factors are either neutral or counsel

in favor of trial in this Court. The motion to transfer should therefore be denied. Blakstad, 2020

WL 5992347, at *6 (denying transfer because “the only factor counseling in favor of transfer in
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this case is Blakstad’s residence in San Diego, while all other factors are either neutral or weigh

slightly in the Government’s favor”).

    The Court Should Deny Shvartsman’s Motion for a Bill of Particulars

       The defendants seek to compel the Government to produce a bill of particulars specifying

the acts of concealment the Government intends to prove at trial. (Def. Mot. 9.) This motion should

be denied as “an impermissible attempt to compel the Government to provide the evidentiary

details of its case.” United States v. Rittweger, 259 F. Supp. 2d 275, 292-93 (S.D.N.Y. 2003).

       A bill of particulars is required “only where the charges of the indictment are so general

that they do not advise the defendant of the specific acts of which he is accused.” United States v.

Walsh, 194 F.3d 37, 47 (2d Cir. 1999). That is not the case here. The speaking Indictment, as

supplemented by the searchable Rule 16 discovery and additional voluntary disclosures made by

the Government, provides Shvartsman with more than enough notice. See United States v.

Bortnovsky, 820 F.2d 572, 574 (2d Cir. 1987) (court should consider the text of the Indictment, as

well as discovery and other information supplied to the defendant).

       Here, the speaking indictment specifically identifies two tranches of insider trading

proceeds that were laundered—first, a set of funds that were laundered through the Washing

Account, and, second, a set of funds that were laundered through purchasing the yacht.

(Superseding Indictment ¶¶ 15-16.) These allegations, as well as additional discovery, including

two seizure warrant affidavits outlining the grounds for seizure of certain property involved in

money laundering (relating to both the Washing Account and the yacht) provides the defendant

ample notice of the charges against him and what he must defend.

       While more information than has been described explicitly in the Indictment might be

considered “helpful,” the “ultimate test must be whether the information sought is necessary,”
                                                17
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Mitlof, 165 F. Supp. 2d at 569, and the allegations in the Indictment are more than sufficient to

advise the defendants of the nature of the charged scheme, see United States v. D’Amico, 734 F.

Supp. 2d 321, 335 (S.D.N.Y. 2010) (“‘A bill of particulars is not a general investigative tool, a

discovery device or a means to compel the government to disclose evidence or witnesses to be

offered prior to trial.’”); United States v. Bellomo, 263 F. Supp. 2d 561, 580 (E.D.N.Y. 2003) (“A

bill of particulars is not designed to . . . restrict the government’s evidence prior to trial; assist the

defendant’s investigation; obtain the precise way in which the government intends to prove its

case; interpret its evidence for the defendant, or disclose its legal theory.”). There are good reasons

why bills of particulars are warranted only where the allegations in an indictment, as supplemented

by discovery and otherwise, are so general as to render it impossible to prepare a defense. Because

a bill of particulars “confines the Government’s proof to particulars furnished,” it can “restrict

unduly the Government’s ability to present its case.” United States v. Feola, 651 F. Supp. 1068,

1132 (S.D.N.Y. 1987). “The [G]overnment’s presentation of evidence at trial is limited to the

particulars contained in the bill, so care must be taken not to overly restrict the government’s proof

while still protecting the defendant from unfair surprise.” United States v. Mahabub, No. 13 Cr.

908 (AJN), 2014 WL 4243657, at *2 (S.D.N.Y. Aug. 26, 2014); see also United States v.

Samsonov, No. 07 Cr. 1198 (CM), 2009 WL 176721, at *3 (S.D.N.Y. Jan 23, 2009) (bill of

particulars “must not be misused . . . to foreclose the Government from using proof it may develop

as the trial approaches”).




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                                      CONCLUSION

      For the reasons set forth above, the defendant’s motions should be denied.

Dated: New York, New York
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                                                      Respectfully submitted,

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